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8                              UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10      JEREMY HOLLAND                             Case No. CV 20-04416 AB (PDx)
11                      Plaintiff,
12                                                 ORDER DISMISSING CIVIL ACTION
        v.
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        ARZOUMANIAN AZAIE, et al.,
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                        Defendants.
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             THE COURT having been advised by counsel that the above-entitled action has
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       been settled;
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             IT IS THEREFORE ORDERED that this action is hereby dismissed without
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       costs and without prejudice to the right, upon good cause shown within 30 days, to re-
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       open the action if settlement is not consummated. This Court retains full jurisdiction
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       over this action and this Order shall not prejudice any party to this action.
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24     Dated: November 9, 2020          _______________________________________
                                        ANDRÉ BIROTTE JR.
25                                      UNITED STATES DISTRICT JUDGE
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                                                  1.
